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                   Exhibit 19E
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     From: Godfrey, Richard C. [mailto:rgodfrey@kirkland.com]
     Sent: Friday, February 17, 2012 11:30 AM
     To: Rice, Joe; Calvin Fayard
     Cc: james.neath@bp.com
     Subject: Rule 408 Settlement Communication: Confidential: Observations about the PSC's Concerns
     Regarding the "Benchmark Period" in the Compensation Framework for Business Economic Loss Claims
     document




     Friends: I have personally spent time with our PSC colleagues, including Rhon,
     John and Wally, along with BP’s economic and accounting experts, in an effort to
     understand the concern Joe raised earlier this week regarding the definition of the
     “Benchmark Period” in the “Compensation Framework” document. I have
     approached an analysis of the PSC’s concerns not only with an open mind, but also
     as one who was not involved in drafting the document entitled “Compensation
     Framework for Business Economic Loss Claims.” Obviously, I was involved at a
     general level of discussion with the PSC concerning the goals and basic approach
     for the Framework in mind, but I had no role in drafting of the Framework. Since
     Joe raised the PSC’s concerns, however, I have spent a fair amount of time
     reviewing the document’s drafting history, as well as listening to the perspectives
     of Rohn, John and Wally. I wish to express my thanks and deep appreciation for
     the time which the PSC spent with me explaining its perspective, and am
     particularly thankful to Rhon for the time he has spent educating me about the
     PSC’s concerns. Finally, I have not cross-examined the BP drafting team about the
     meaning or intent of the Compensation Framework document. Thus, I did not ask
     or examine Wendy Bloom, for example, as to what she understood or intended
     with respect to the Compensation Framework document. Instead, I started with the
     documents, the drafting history, and once I had digested those, I then met with
     Andy Karron to walk through my understanding of the documents, and after that,
     met with Hal Side and then Rhon to walk through and discuss the issues.



     Unfortunately, despite spending the better part of the last two days analyzing the
     PSC’s concerns, I have concluded that I do not agree with the PSC’s concerns. In
     this regard, please consider the following points:



1.    The term “Benchmark period” is a defined term. Its definition does not change
     depending upon the paragraph of the Compensation Framework in which it is
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     used. Rather, it is a simple, defined term, to be used (and which is used)
     throughout the several page Compensation Framework document.



2.    The basic concept of the Compensation Framework is to determine
     compensation for a post-spill loss. The Compensation Framework is not the
     “causation test,” which determines eligibility to claim that there was a loss caused
     by the oil spill. Rather, once the causation test has been satisfied (or presumed,
     as in Zone A for example), the Compensation Framework is designed to determine
     the compensation amount for a post-spill loss.



3.    The economics or accounting for determining a compensation amount for a
     post-spill loss is, in simple terms, to compare the actual financial results during
     the defined loss period measured against the profit that the claimant might or
     should have been expected to earn in the comparable post-spill period of 2010.



4.     The Compensation Framework for determining the recoverable loss could be
     described or calculated in one step. But, to make it simpler and easier to
     understand, the parties broke the calculation into two steps: “Step 1” and “Step
     2.” The defined term, “Benchmark Period,” is used in describing both Step 1 and
     in Step 2; this defined term is also used in the calculations of both Steps 1 and 2.



5.     At the top of the Compensation Framework document (page 1, 2nd paragraph),
     Step 1 is described by both the PSC and BP as follows: “Compensates claimants
     for any reduction in profit between the 2010 Compensation Period selected by the
     claimant and the comparable months of the Benchmark Period. Step 1
     compensation reflects the reduction in Variable Profit (which reflects the
     claimant’s revenue less its variable costs), over this period.” (PSC 12/19/11 Draft;
     italics and emphasis added). The term “Compensation Period” is defined
     as: “Compensation Period is selected by the Claimant to include three or more
     consecutive months between May and December 2010.” Put simply: the
     Claimant has the right to select three or more consecutive months from the
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     period May to December 2010 as the Compensation Period. Thus, if the Claimant
     selects the months of June, July and August 2010 as the Compensation Period, for
     example, then that 3-month selected period is measured against “the comparable
     months of the Benchmark Period”—i.e., June, July and August of the pre-spill
     Benchmark Period.



6.     At the top of the Compensation Framework document (page 1, 3rd paragraph),
     Step 2 is described by both the PSC and BP as follows: “Compensates claimants
     for incremental profits or losses the claimant might have been expected to
     generate in the absence of the spill relative to sales from the Benchmark
     Period. This calculation reflects a Claimant Factor that captures growth or decline
     in the pre-spill months of 2010 compared to the comparable months of the
     Benchmark Period and a General Adjustment Factor.” (PSC 12/19/11 Draft;
     italics and emphasis added). Again, in the description of Step 2, the focus is upon
     the “comparable months of the Benchmark Period.”



7.    The current disagreement between the parties is over the plain English meaning
     of the defined term “Benchmark Period.” Plaintiffs seek to define it as the entire
     8 month period of May through December of either 2009, or the average of those
     8 months for 2008-2009, or the average of those 8 months for the period 2007 to
     2009. BP, on the other hand, believes that the defined term “Benchmark Period”
     means the “comparable months” to those selected in the Compensation
     Period. The history of how this disagreement arose is as follows:



           A. In BP’s draft of 12/13/11, BP had the following definition for the term
              “Benchmark Period”: “The Benchmark Period is the pre-spill time period
              corresponding to the months of the Compensation Period that a
              claimant chooses as the baseline for measuring its historical financial
              performance. The claimant can select among the following Benchmark
              Periods: 2009, the average of 2008-2009, or the average of 2007-
             2009.” This definition was contained in the same document reflecting
             the description of Steps 1 and 2 as set forth above, and as used by the
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                PSC (the PSC did ask for one change in Step 1, not material here, and
                which is included in the Step 1 quote above.)



           B.     In the PSC’s response draft of 12/19/11, the PSC made various
                changes. The only changes the PSC made, which BP did not view (and
                does not understand) as substantive with respect to the definition of the
                term “Benchmark Period,” are as follows: “The Benchmark Period is the
                pre-spill time period [DELETED PHRASE: “corresponding to the months
                of the Compensation Period that”] [ADDITIONAL
                LANGUAGE: “including May through December which”] claimant
                chooses as the baseline for measuring its historical financial
                performance. The claimant can select among the following Benchmark
                Periods: 2009, the average of 2008-2009, or the average of 2007-
                2009.” In the context of this Compensation Framework document
                BP did not (and does not) view this change as a substantive one, but
                rather an attempt at simplifying the defined term. Accordingly, but not
                directly in response to the PSC’s changed language, BP did--on
                December 27, 2011—state “BP and the PSC have agreed upon how to
                calculate Step 2….” As to the Step 2 calculation, however, the PSC did
                not highlight or suggest that it considered the additional and modified
                language to constitute a substantive change, and BP likewise did not
                understand that the proposed simplified definition would change how
                Step 2 would be calculated.



8.    After the 12/27/2011 communication, there were additional negotiations over
     the Compensation Framework; eventually, the parties reached accord and on
     1/12/12, placed the Compensation Framework’s essential terms into the “Done
     Bucket”, although all recognized that the drafts of the Compensation Framework
     would be matured and simplified to more precisely reflect what the parties had
     agreed to with respect to the Framework.



9.    On Tuesday of this week, 2/14/12, however, the PSC raised the question of how
     Step 2 was calculated in light of the definition of the term “Benchmark
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      Period.” The reason the PSC says that it raised the question is because of a
      document BP sent to the PSC last week. In this regard, as the parties have
      reached closure on the various deal terms, they have been reviewing the “done
      bucket” items to simplify them, make them more readable, etc. In that context,
      BP proposed a number of what it considered to be non-substantive changes to
      the Compensation Framework document, including language in the Benchmark
      Period definition. The PSC, in contrast, explained to BP that it viewed the
      Benchmark Period term and the changes it made on December 19 as
      fundamentally substantive. According to the PSC, the defined term Benchmark
      Period is the entire period of 8 months—that is, the period May through
      December—and is not the period of time comparable to the three or more month
      period which the claimant selects for the Compensation Period. In short, the PSC
      says that in Step 1, the claimant can pick a three or more month period for 2010,
      but in Step 2, the claimant does not pick any months much less the comparable
      pre-spill months, but instead, the claimant is compelled to use the entire 8 month
      period of May through December.



10.                With respect, I do not (nor does BP) agree with the PSC’s
      interpretation of the Benchmark Period definition, as it makes no sense—whether
      evaluated by use of the plain English standard, by use of the defined term
      throughout the remainder of the Compensation Framework document, or from
      an accountancy and economic perspective. Thus, to accept the PSC’s
      understanding of the term Benchmark Period, one would have to rewrite
      fundamental terms and language throughout the Compensation Framework
      document to both delete and add multiple terms. For example:



            A. The word “comparable” and phrase “comparable months of” is used
               throughout the document in the context of comparing the months
               selected by the Claimant in 2010 to compare against the same months
               in the Benchmark Period. The use of the word “comparable” and phrase
               “comparable months,” however, makes no sense, has no meaning, and
               is completely unnecessary because--under the PSC’s interpretation--
               there is nothing to compare—i.e., three or more selected months in
               2010 do not by definition “compare” to and are not “comparable
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        months to” the set 8-month period of a prior year or years. (See PSC
        12/19/11 Draft).



   B.     In the 2nd paragraph, 1st page, in describing Step 1, the following
        bolded and italicized language would have to be deleted: Whereas the
        Compensation Framework document states “Compensates claimants
        for any reduction in profit between the 2010 Compensation Period
        selected by the claimant and the comparable months of the Benchmark
        period”, the phrase “the comparable months of the…” would have to be
        deleted. That language is unnecessary, has no meaning, and makes no
        sense under the PSC’s interpretation, because according to the PSC,
        there are no “comparable months of” the Benchmark Period. (PSC
        12/19/11 Draft).



   C.    In the 3rd paragraph, 1st page, in describing Step 2, the following
        bolded and italicized language would have to be deleted: Whereas the
        Compensation Framework document states “This calculation reflects a
        Claimant Factor that captures growth or decline in the pre-spill months
        of 2010 compared to the comparable months of the Benchmark Period
        and a General Adjustment Factor,” the phrase “the comparable months
        of…” would have to be deleted. That language is both unnecessary and
        makes no sense because--under the PSC’s interpretation--there are no
        “comparable months of” the Benchmark Period. (PSC 12/19/11 Draft).



   D. On the bottom of page 1 and top of page 2, with respect to the PSC’s
     language in the defined term “Benchmark Period”, the interpretation
     the PSC offers of the Benchmark Period also does not make sense. Thus,
     the definition as modified by the PSC states: “The Benchmark Period is
     the pre-spill time period including May through December which
     claimant chooses as the baseline for measuring its historical financial
     performance….” (Emphasis added) But under the PSC’s interpretation,
     the word “including” is unnecessary and without meaning; moreover,
     use of that word is flatly inconsistent with the PSC’s interpretation that
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        the Benchmark Period is the entirety of the 8-month May through
        December time period. (PSC 12/19/11 Draft).



   E.    On page 3, towards the bottom of the page under Step 1, the
        Compensation Framework document states: “Step 1 of the
        compensation calculation is determined as the difference in Variable
        Profit between the 2010 Compensation Period selected by the claimant
        and the Variable Profit over the comparable months of the Benchmark
        Period.” The bolded and italicized language is both unnecessary and
        makes no sense. There are not going to be any “comparable months”
        under the PSC’s interpretation of the term Benchmark Period because,
        according to the PSC, the Benchmark Period is a set period of 8 months
        and is not comparable to the 3 or more specific claimant-selected
        months in the Compensation Period. The bolded and italicized language
        also is contrary to the PSC’s interpretation for the same reason. (PSC
        12/19/11 Draft).



   F.     On page 4, in the section of the Compensation Framework document
        entitled “Step 2 Compensation”, the following bolded and italicized
        language would have to be deleted: Whereas the document reads
        “Calculate total revenue amount for the claimant-selected May through
        December Benchmark Period…., that language is both unnecessary and
        makes no sense under the PSC’s interpretation. The phrase “claimant-
        selected” is completely unnecessary because--according to the PSC--
        there is nothing for the claimant to select between the months of May
        through December. Instead, the Benchmark Period is always a set time
        period, the PSC argues, of 8 months—May through
        December. Accordingly, if the PSC’s interpretation were correct, then
        the language either should state (i) “Calculate total revenue amount for
        the Benchmark Period….”, or alternatively (ii) “Calculate total revenue
        amount for the Benchmark Period selected by the
        claimant….” Regardless, there is no need for the May through
        December language as, according to the PSC’s interpretation, the
        Benchmark Period by definition is always May through December. And
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      equally important, the claimant-selected language modifies May
      through December, suggesting a choice, which according to the PSC, the
      claimant does not have and cannot make.



   G. As you fully appreciate, the law in every jurisdiction is the same that
     contracts should not (i) be interpreted to render contractual language
     unnecessary or superfluous, and (ii) should never be interpreted to
     produce absurd or nonsensical results. Moreover, the defined term
     “Benchmark Period” cannot have two very different and irreconcilable
     and conflicting meanings for use within the same Compensation
     Framework document. A definition is a definition—it cannot mean one
     thing in one part of the document, but something completely and
     conflictingly different in another part of the same document. In sum,
     based upon a review of the PSC’s own drafts and the language used in
     the Compensation Framework document itself, the PSC’s interpretation
     cannot be squared basic principles of contract law, much less with the
     plain English as used throughout the Compensation Framework
     document.



   H. But, unfortunately, there are even deeper problems from an economic
     and accounting standpoint with the PSC’s Benchmark Period
     interpretation—including problems which are detrimental to the class
     which the PSC seeks to represent. These problems are illustrated by the
     following examples, among others:



      1.     The PSC’s interpretation makes no sense economically, as it will
           create fictitious losses that do not exist. Why? From an accounting
           and economic standpoint, one will often create artificial losses by
           comparing three months of revenue data with 8 months of revenue
           data. The absence of 5 months of data will, by definition, often result
           in an artificially created, fictitious loss regardless of the claimant’s
           actual economic performance. This is illustrated by the example set
           out in Exhibit 1, sent to you in a separate e-mail.
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         2.     At the same time, however, the PSC’s interpretation will result in
              various claimants who actually suffered losses and who otherwise
              would be compensated by BP but who, under the PSC’s
              interpretation, will receive less compensation than they should, or
              even no compensation at all. This is illustrated by the example set
              out in Exhibit 2, sent to you in a separate e-mail.



Joe and Calvin—I have tried very hard to see the PSC’s point of view on this one,
because the Business Economic Loss was put in the “done bucket” several weeks
ago. But after spending the better part of the last two days reviewing the
documents, and analyzing the drafting history, and the economic principles, I
cannot and do not agree with the PSC’s interpretation. After you have had the
opportunity to review this note, and its attachments, we can discuss the issue
further.



Rick
